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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : MAGISTRATE NO. 21-MJ-469 (RMM)
                                            :
BRIAN CHRISTOPHER MOCK,                     :
     Defendant.                             :


                                            ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Brian Christopher Mock

       It is this 16th day of June, 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the District of Minnesota Magistrate Judge on June 15, 2021 as to

defendant Brian Christopher Mock is STAYED pending review of the detention decision by

this Court.




                                            BERYL A. HOWELL
                                            CHIEF JUDGE, UNITED STATES DISTRICT
                                            COURT FOR THE DISTRICT OF COLUMBIA




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